                     ALI SULEIMAN TRUST

                                AMENDMENT ONE

               TRUSTOR, ALI SULEIMAN, pursuant to the rights reserved by Trustor in
Article II, Paragraph 2.1 of the ALI SULEIMAN TRUST dated November 25, 2003, hereby
amends and modifies said Trust as follows, as to his interest in the Trust.



The following Paragraphs 4.3.30 - 4.3.31 are hereby modified and amended in their entirety to
read as follows:


     4.3.30 Tax Filings. Elections and Equitable Adjustments.            Trustee is authorized to
             represent the Trust in all tax matters, including but not limited to the preparation,
             filing and signing of any state or federal income or estate tax returns as well as
             where appropriate, the request for extension to file returns and/or pay taxes. It is the
             Trustors' intent that this instrument conform to applicable laws that would create the
             maximum reduction in their joint estate taxes, income taxes, gift taxes and the fees
             of administering this trust without defeating its dispositive provisions or otherwise
             impairing the substantive rights of trust beneficiaries. The Trustee therefore has sole
             discretion to make any and all tax elections and take all other appropriate action
             with respect to taxation of every kind applying to the Trustors, the Trust and its
             beneficiaries. Unless otherwise provided herein, such power may be exercised
             regardless of the effect of- such exercise upon the comparative values of the
             distributive provisions made under this Trust, and Trustee shall not be required to
             make any adjustment in the amount of any distribution in order to compensate for
            the effect of such exercise.



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         Unless otherwise provided herein, Trustee may administer the Trust without regard
         to the income tax basis of specific property allocated to any beneficiary. Further,
         Trustee may, in its sole and absolute discretion, exercise all elections with respect to
         allowable deductions on Trustors' estate tax returns or any necessary income tax
         returns, all without reimbursement either from or to Trustors' estate or any
         beneficiaries hereunder for taxes payable in respect of said elections.


         Unless otherwise provided herein, Trustee may also make, in its discretion, any
         equitable adjustments which may be necessary to permit beneficiaries with different
         tax brackets to share fairly overall tax savings which may result from any
         distributions, tax savings elections or decisions which Trustee deems advisable.


         However, for purposes of the basis allocation rules as provided under Internal
         Revenue Code Section 1022, Trustee shall, to the extent feasible, given the nature
         and extent of property distributed to the beneficiaries provided for herein, allocate
         the aggregate basis increase (Internal Revenue Code Section 1022(b)(2)(B)) in
         reasonably equivalent shares to the beneficiaries.


   4.3.31 Amendments and Reformation. The Trustors recognize that the laws relating to
         taxation change from time to time and that they may inadvertently fail to amend this
         Trust to take advantage of these changes. Accordingly, to the extent permitted by
         law, the Trustee may amend this document or petition a court of competent
         jurisdiction to reform this instrument for the purpose of conforming its provisions to
         those laws that would favorably affect any tax liability otherwise accruing to the
         Trustors or their respective estates, or that would substantially reduce the costs of
         administering this Trust, provided that such amendment or reformation is otherwise
         consistent with dispositive provisions of this Trust and does not otherwise impair
         the substantive rights of trust beneficiaries. If no definitive law exists on the



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